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District Court of Minnesota eM an |

THIRD JUDICIAL DISTRICT

GOVERNMENT CENTER
15% FOURTH STREET SE
ROCHESTER, MINNESOTA 55904-3712

JOD! L. WILLIAMSON TELEPHONE (S07) 285-8243

JUBGE OF DISTRICT COURT FAX (SO7) 265-89s6
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May 13, 2003

Steven VonWald, Director

Olmsted County Adult Detention Center
101 Fourth Street SE

Rochester, Minnesota 55904

Re: State of Minnesota vs. Philip David Schaub
Court File Number K402431 1

Dear Mr. VonWald:

On May 12, 2003 Mr. Schaub, through his attorney, moved the court to allow him
to serve the balance of his jail sentence on electronic home monitoring. The
County Attorney's Office opposed the request.

In support of Defendant's request for electronic home monitoring, | enclose a
copy of the affidavit of Philip David Schaub. With Mr. Schaub's permission, | am
also enclosing a copy of a letter from Dr. Stolp. dated April 7, 2003 and a hospital
summary dated May 3, 2003.

The basis for Defendant's motion is that the jail cannot adequately accommodate
his needs.

-After you have had a chance to review this with your Staff, please call me to
discuss this matter.

Jodi é Williamson - Exbi ~
Judge of District Court xhibit F

JLW:mam |
Enclosures . Cc?
cc: Gary A. Gittus, Attorney for Defendant BAY 1 4 2083 y

David F. McLeod, Assistant Olmsted County Attorney i
